Request for Payment

of State of Washington Department of Revenue Taxes

(Bankruptcy Administrative Expenses and Request for Payment pursuant to 11 U.S.C. 503 (b))

Case Number
23-11919 2 =
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Type of Bankruptcy Case 3 > ¢
US BANKRUPTCY COURT Chapter 11 mo we o
District of Western Washington > a ES we
Date of Petition aoe Han
10/09/2023 as = 38h
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Re: WA Department of Revenue cz = @.
vs HWC Burbs Burgers LLC #H#-HHHS933 3° a,
SR 0 gf
aA ant baile dss a
Taxpayer Identification Number

THIS SPACE IS FOR
COURT USE ONLY

1. The undersigned, whose business address is shown below, is the agent of the State of Washington Department of Revenue and is
authorized to make this request for payment on behalf of the State of Washington, Department of Revenue,

2. Request is made for payment of taxes and any interest or penalty due under the laws of the State of Washington as shown below.

3, The ground of liability is taxes due under the laws of the State of Washington.

Tax Type Period Assess Date | Tax Penalty Interest Other Charges | Total Comments
Sales&Business | Oct 31 2023 $37,490.37 $5,248.65 | $230.73 $42,969.75
Sales&Business | Nov 30 2023 $34,297.98 $4,801.72 | $202.41 $39,302.11
Sales&Business | Dec 31 2023 $33,000.00 $0.00 $0.00 $33,000.00
Sales&Business | Jan 31 2024 $34,300.00 $0.00 $0.00 $34,300.00

Total | $139,088.35 | $ 10,050.37 $433.14 $149,571.86

The amount due includes interest and penalty computed to January 11, 2024. Interest will accrue at the rate established under

Washington Statute RCW 82.32.050 and .060, and late payment penalty will be charged as provided by law. Ifthe claim is not paid
within 20 days of its filing, contact the Washington Department of Revenue at the phone number below for the current balance.

STATE OF WASHINGTON

DEPARTMENT OF REVENUE
/s/ Andrew Garrett

2101 4th Ave., Suite 1400 @ Seattle, WA 98121-2300 ¢ Phone: 206/727-5376 Fax: 206/727-5319

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UNITED STATES BANKRUPTCY COURT
DISTRICT OF WESTERN WASHINGTON

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eee el Debtor: HWC Burbs Burgers LLC
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ew Ate me | Petition Date: 10/09/2023

Pursuant to 11 USC §503(b)(1)(D), a governmental unit shall not be required to file a request for
payment of an expense described in 11 USC §503(b)(1)(B) or (C), as a condition of its being
allowed an administrative expense.

The Creditor

1.1 Name of Creditor: Washington State Department of Revenue

1.2 Name and address where notices should be sent:
Washington State Department of Revenue

2101 4th Ave Suite 1400
Seattle, WA 98121

Telephone Number: (206)727-5376 Email: andrewg@dor.wa.gov

1.3 Name and address where payments should be sent (if different from above):

Telephone Number: Email:
The Claim
2.1 Taxpayer ID (last four digits): 5933 Uniform claim identifier for Chapter 13 (if used):

2.2 Amount of Claim: $149,571.86

2.3 Basis for Claim: 11 U.S.C. §507(a)(2) Administrative Expense Claim for post-petition taxes,
interest, and penalties of the kind described in 11 U.S.C. §503(b)(1)(B),(C).

Type of Taxes:

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X Sales RCW 82.08.020 X B&O RCW 82.04.220

O Use RCW 82.12.020 [] Other RCW 82...
Tax Tax Interest and Penalties Balance Due
Period Due to date to date
Oct 2023 $37,490.37 $5,479.38 $42, 969.75
Nov 2023 $34,297.98 $5,004.13 $39,302.11
Dec 2023 $33,000.00 $0.00 $33,000.00
Jan 2024 $34,300.00 $0.00 $34,300.00

Total Amount Due: $149,571.86

2.4 Credits: The amount of all payments on this claim has been credited for the purpose of making this
administrative expense claim.

2.5 Interest and penalties continue to accrue. The amount due includes interest and penalty computed
to January 11 2024. Interest will continue to accrue at the rate established under RCW 82.32.050(2).
if the claim is paid after January 11 2024, contact WA Department of Revenue at (206)727-5376 for
the current balance.

Signature

Check the appropriate box:

_.! am the creditor.

X! am the creditor's attorney or authorized agent.

__.! am the trustee, or the debtor, or their authorized agent.
_.. | am a guarantor, surety, endorser, or other codebtor.

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| have examined the information in this Administrative Expense Claim, have a reasonable belief that the
information is true and correct, and request allowance and payment of the postpetition taxes, interest, and
penaities set forth herein.

| declare under penalty of perjury that the foregoing is true and correct.

Date:
/s/ Andrew Garrett 01/11/2024
Signature MM/DDIYYYY
Print Name: Andrew Garrett Title: Revenue Agent
Agency: Washington State Department of Revenue Address: 2101 4" Avenue Suite 1400
Number Street
Seattle WA 98121
City, State, ZIP Code
Contact Phone: (206)727-5376 Email: andrewg@dor.wa.gov

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